1    Miles Woodlief (SBN124467)
     ArcherTM
2    775 East Blithedale Avenue
     Suite 514
3
     Mill Valley, California
4    phone: (415) 730-3032
     facsimile:(415) 366-2956
5    Attorney for Debtor and Debtor-in-Possession

6
                                 UNITED STATES BANKRUPTCY COURT
7                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                          (Oakland Division)
8

9                                                       )
     In Re:                                             )   Chapter 11
10                                                      )
     Nutrition 53, Inc.                                 )   Case No.:
11                                                      )
                                                        )   LIST OF
12            Debtor                                    )   TWENTY LARGEST CREDITORS
                                                        )
13                                                      )
14
               I declare that the attached list of the Twenty Largest Creditors consisting of one (1)
15

16
     sheets, contains the correct, complete, and current names and addresses of the largest unsecured

17   non-insider creditors currently known to Debtor(s) and that this list conforms with the Clerk’s

18   promulgated requirements.

19

20
     Dated: August 11, 2023                          By: __________________
21
                                                     Miles Woodlief (SBN124467)
                                                     ArcherTM
22
                                                     775 East Blithedale Avenue
23                                                   Suite 514
                                                     Mill Valley, California
24                                                   phone: (415) 730-3032
                                                     facsimile:(415) 366-2956
25




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                                                                                               Nature
2     Company                                                                      City, State   of
       Name           Contact                Email                  Street Address ZIP Code Claim          Amount
3                                                                                  San
     Jonathan       Jonathan                                        1117 Ocean     Francisco,
4    Padilla        Padilla      spelunka73@gmail.com               Ave., #308     Ca, 94112 Loan          $1,505,633
               Amazon
5              Capital
     Amazon.co Services,                                            410 Terry Ave. Seattle, WA
6    m         Inc.              amazon-lending@amazon.com          North          98109       Loan       $361,000.00
     Jon Douglas                                                                     San Rafael
7    Swartz      J.D. Swartz jdswartz@hotmail.com                   40 Center St.    CA 94901 Loan        $200,000.00
     Mihir       Mihir                                              9662 Velvet      San Ramon,
8    Mange       Mange       mihir@initialyze.com                   Leaf Circle      CA 94582 Loan        $200,000.00
                                                                    108 Samat St.    Muntinlupa
9
     Nebo Web       Mercedes                                        Ayala Alabang    Philippines
     Inc            Oben         chuchay@wideumbrella.com           Village          1780        Loan     $101,666.67
10
     Pinecrest
     Capital        Barrett      wromanowski@pinecrestcap.co        8235 Douglas     Dallas, TX
11   Partners       Kingsriter   m                                  Ave, Suite 550   75225        Loan     $63,558.46
     Third Wind
12
     Holdings       Rogers       wromanowski@pinecrestcap.co        5550 Preston     Dallas, TX
     LLC            Healy        m                                  Road, Suite B    75205        Loan     $50,697.87
13
     Command        Cristina     ccoutinho@commandnutritionals 10 Washington Fairfield, NJ Trade
     Nutritionals   Coutinho     .com / 973-227-8210           Ave.          07004         Debt           $246,836.83
14
     Smoothie
     King                                                    9797
15
     Franchises,    Barbara     Barbara.Mayrand@smoothieking Rombauer, Ste.          Dallas, TX   Trade
     Inc.           Mayrand     .com                         150                     75019        Debt    $232,365.45
16
     Federal        USCollectio BillingOnline@fedex.com/+1-                          Pasadena     Trade
     Express        n Dept.     888-780-4580                 P.O. Box 7221           CA 91109     Debt     $60,960.28
17
     Proform      Kaitlyn                                           5001 Industrial Benicia, CA Trade
     Laboratories Walker         billing@proformlabs.com            Way             94510 US Debt          $57,352.76
18
     Boos &         Marissa      mguzman@booscpa.com/+15594 5260 N. Palm             Fresno, CA Trade
19   Associates     Guzman       087225                     Ave Suite 120            93704-2216 Debt       $14,598.86
     Altec
20   Packaging,     Stacie L.                                       1711 Junction    San Jose,    Trade
     Inc            Pearson      Staciep@altecpkg.com               Ct., #350        CA 95112     Debt      $5,534.80
21   Total                                                                           Cincinnati,
     Quality        Anthony      AGettys@tql.com / 504 875-         P.O. Box         OH 45263- Trade
22   Logistics      Gettys       7998                               634558           4558        Debt       $5,155.00
     Central                     cs.collections@centraltransport.c 12225 Stephens Warren, MI Trade
23   Transport      Samantha     om                                Rd.            48089      Debt           $3,360.00
                    Boutin                                          555 Capitol
24   Boutin         Jones                                           Mall, Suite      Sacramento, Trade
     Jones Inc      Accounting accounting@boutinjones.com           1500             CA 95814 Debt          $2,064.00
25




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